                            2:18-cv-02307-SEM-EIL # 91      Page 1 of 2
                                                                                                     E-FILED
                                                                   Wednesday, 01 June, 2022 10:51:52 AM
                                                                           Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT FOR THE
                          CENTRAL DISTRICT OF ILLINOIS

RYAN ROBB,                                          )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )       Case No.       18-cv-02307
                                                    )
BOARD OF TRUSTEES OF PARKLAND                       )
COLLEGE, COMMUNITY COLLEGE                          )
DISTRICT NO. 505,                                   )
                                                    )
               Defendant.                           )

      NOTICE OF SUPPLEMENTAL DISCOVERY DEPOSITION OF PLAINTIFF
TO:    Ryan Robb
       c/o David Levin, his attorney
       111 West Jackson Blvd, Suite 1700
       Chicago, IL 60604

       PLEASE TAKE NOTICE that Lorna K. Geiler, counsel for the Defendant, will take the
discovery deposition of the Plaintiff, Ryan Robb on June 13, 2022 at 11:00 a.m. before Area
Wide Reporting, or any other officer authorized by law to take depositions in like cases, at Meyer
Capel, A Professional Corporation, 310 W. Church St., Champaign, IL 61820.

Dated this 1st day of June, 2022

                                   BOARD OF TRUSTEES OF
                                   COMMUNITY COLLEGE DISTRICT NO.
                                   505 (PARKLAND COLLEGE) COUNTIES OF
                                   CHAMPAIGN, COLES, DEWITT, DOUGLAS, EDGAR,
                                   FORD,       IROQUOIS,       LIVINGSTON,     MCLEAN,
                                   MOULTRIE, PIATT, VERMILION AND STATE OF
                                   ILLINOIS, Defendant,
                                   By: Meyer Capel, A Professional Corporation
                                   By: /s/ Lorna K. Geiler __________
                                   Lorna K. Geiler, Bar#6192940
                                   Attorney for the Defendant
                                   Meyer Capel, A Professional Corporation
                                   306 W. Church St.
                                   Champaign, IL 61820
                                   Phone: (217) 352-1800
                                   Email: lgeiler@meyercapel.com
                        2:18-cv-02307-SEM-EIL # 91          Page 2 of 2




                      CERTIFICATE OF SERVICE BY ATTORNEY

        In accordance with Fed.R.Civ.P. 5(a) and LR5.3(c) the undersigned attorney certifies that
the foregoing NOTICE OF SUPPLEMENTAL DISCOVERY DEPOSITION OF
PLAINTIFF was filed with the Clerk of this Court by submission of the same via this Court’s
Electronic Case File System (“ECF”) on June 1, 2022 and that notice of said electronic filing
will automatically be transmitted by email to:

David Brian Levin - dlevin@toddflaw.com




                                     By:    /s/ Lorna K. Geiler___________________
                                            Lorna K. Geiler, Bar#6192940
                                            Attorney for the Defendant
                                            Meyer Capel, A Professional Corporation
                                            306 W. Church St.
                                            Champaign, IL 61820
                                            Phone: (217) 352-1800
                                            Email: lgeiler@meyercapel.com




                                                2
